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CO 526 Rev. 5/2018

UNITED STATES DISTRICT AND BANKRUPTCY COURTS
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

Criminal Case NO.: 17-CR-201-1

FILED
sEP 14 2018

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WAIVER OF TRIAL BY JURY Courts fur the District ozgorliilr)ri‘tiia

VS.

PAUL J. MANAFORT, JR.

With the consent of the United States Attorney and the approval Of the Court, the defendant

waives his right to trial by jury.

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Defendanr //

 

Coulis/ci for Def`endant

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Date: 9/14/2018

 

 

Amy Berman ackson

United States District Judge

